                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                MIDLAND-ODESSA DIVISION

JARED LEE, DANA ELLIS,                             §
MATTHEW COUNTS,                                    §
GREGORY MCCLENDON, and                             §
BARRY RUSSELL,                                     §
                                                   §           Civil Action No. 7:22-cv-185
                                                   §
v.                                                 §
                                                   §           JURY TRIAL DEMANDED
CITY OF MIDLAND, JENNIE                            §
ALONZO, ROSEMARY SHARP, and                        §
CAMILO FONSECA                                     §


             DEFENDANTS’ UNOPPOSED MOTION TO EXTEND TIME TO PLEAD

         Defendant Officers Jennie Alonzo, Rosemary Sharp, and Camilo Fonseca, and the City of

Midland, Texas, move to extend Defendants’ time to file a responsive pleading to Plaintiff’s

Original Complaint [Doc. 1] by fourteen days for the following reasons:

                                CERTIFICATE OF CONFERENCE

1. Plaintiff is unopposed to the relief sought in this motion.

                               ARGUMENTS AND AUTHORITIES

2. Plaintiff filed this lawsuit [Doc. 1.] on August 30, 2022, alleging violations of their federal

     civil rights.

3. Under Federal Rule of Civil Procedure 12(a)(1)(A), Officers Alonzo’s and Sharp’s, and the

     City’s responsive pleading is due on September 28, 2022. Officer Fonseca’s responsive

     pleading is due September 29, 2022.

4. Defendants recently retained the undersigned defense counsel. Defense counsel requires an

     additional fourteen days to investigate the propriety of a motion to dismiss in lieu of an answer,

     to confer with Plaintiffs’ counsel regarding pleading deficiencies in Plaintiffs’ original



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    complaint, as required under local rule CV-7(G), and to allow Plaintiffs the opportunity to

    amend before Defendants file a motion to dismiss or answer.

5. Accordingly, consistent with FED. R. CIV. P. 6(b), Defendants seek until October 12, 2022 to

    file all Defendants’ responsive pleading.

                                 CONCLUSION AND PRAYER

6. Defendants pray the Court grant Defendants until October 12, 2022, to file Defendants’

    responsive pleading to Plaintiff’s Original Complaint.

                                                Respectfully Submitted,

                                                LEWIS BRISBOIS BISGAARD & SMITH LLP

                                                /s/ William S. Helfand
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                                  CERTIFICATE OF SERVICE


         I hereby certify that on September 27, 2022, I electronically filed the foregoing document

using the CM/ECF system and that a copy of this filing has been forwarded to all counsel of record

through and in accordance with the ECF local rules.


                                                      /s/ William S. Helfand
                                                      William S. Helfand




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